            Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 1 of 34




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


 DONNA VOGEL, individually and on               Case No. 3:23-cv-00740
 behalf of all others similarly situated,
                                                CLASS ACTION COMPLAINT
                Plaintiff,
                                                DEMAND FOR JURY TRIAL
        v.

 AETNA, INC.,

                Defendant.




       Plaintiff DONNA VOGEL, individually, and on behalf of all others similarly situated

(“Plaintiff”), through her undersigned attorneys, brings this action against Defendant AETNA,

INC. (“Defendant” or “Aetna”) and alleges upon personal knowledge as to her own actions and

experiences, and upon information and belief as to all other matters, as follows:

                                       INTRODUCTION

       1.       As a result of inadequate security, Aetna failed to protect the personally

identifiable and health information of over a million people that subscribe to Aetna’s health

insurance. On information and belief, Defendant failed to comply with regulatory, ethical, and

industry standards for cybersecurity and confidentiality of sensitive personal information, and

failed to timely prevent, detect, and adequately respond to a foreseeable data breach carried out

by cyber criminals.

       2.       As a result of Aetna’s inadequate security, unauthorized persons accessed

information from Aetna’s customers some time between approximately January 18, 2023 and

January 30, 2023. The cyber criminals gained access to, copied, and stole Plaintiff’s and Class
            Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 2 of 34




members’ personal information through a flaw in managed file transfer (“MFT”) software used

by Aetna’s benefits administration services provider, NationsBenefits (the “Data Breach”).

       3.       The information affected in the Data Breach included the following: full names,

addresses, phone numbers, dates of birth, Social Security numbers (“Personal Identifying

Information” or “PII”), and health insurance numbers, medical ID numbers, health plan

subscriber identification numbers, date of service, medical device or product purchased, and

provider/care giver name (“Personal Health Information” or “PHI”) (collectively “PII/PHI”).1

Not every individual affected had all of these data elements impacted, or the same combination

of                                                                                             data

elements impacted.

       4.       Notice of the Data Breach was unreasonably delayed. Plaintiff and some Class

members were not notified until the end of April 2023, giving the criminals a head start to

commit identity fraud, and theft.

       5.       As a direct result of the Data Breach, Plaintiff and Class members have suffered

numerous actual and concrete injuries and will suffer additional injuries into the future. Plaintiff

seeks damages and other legal and equitable relief for herself and Class members for the

following categories of harms: (a) invasion of privacy; (b) financial costs incurred mitigating the

imminent risk of identity theft; (c) loss of time and loss of productivity incurred mitigating the

imminent risk of identity theft, including medical identity theft; (d) loss of time and loss of

productivity heeding warnings and following instructions in the data breach notification letters;

(e) the cost of future monitoring for identity theft, including medical identity theft; and (f)


1 See https://wgme.com/news/i-team/vendor-aetna-insurance-data-breach-maine (last visited May 30,
2023);   see    also    https://apps.web.maine.gov/online/aeviewer/ME/40/cc06cdee-0715-4eea-8b33-
c391dba8fe5e.shtml (last visited May 31, 2023); see also https://www.iowaattorneygeneral.gov/
media/cms/4132023_NationsBenefits_Incident_No_A5074CDE9491F.pdf (last visited May 31, 2023).

                                                 2
            Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 3 of 34




deprivation of value of PII/PHI.

       6.       Plaintiff brings this class action against Defendant for its negligence, negligence

per se, breach of contract, and unjust enrichment. Plaintiff seeks injunctive relief, declaratory

relief, money damages, and all other relief as authorized in equity or by law.

                                         THE PARTIES

       7.       Plaintiff Donna Vogel is a citizen of Ohio.

       8.       Defendant Aetna is a company organized under Pennsylvania law, with its

principal place of business in Hartford, Connecticut.

                                    JURISDICTION AND VENUE

       9.       Subject matter jurisdiction arises under 28 U.S.C. § 1332(d). This case is brought

as a class action with an amount in controversy in excess of $5 million, exclusive of interest and

costs, there are 100 or more proposed Class members, and at least one proposed Class member is

a citizen of a state different from Defendant.

       10.      This Court has personal jurisdiction over Defendant because Defendant transacts

business in Connecticut, committed tortious acts in Connecticut, contracted with third party

companies in Connecticut, and has its principal place of business in Connecticut.

       11.      Venue is proper in this District because the acts and omissions giving rise to this

action occurred in this District.

                                    FACTUAL ALLEGATIONS

               Aetna’s Promises and Obligations Regarding Protection of PII/PHI

       12.      Aetna’s Notice of Privacy Practices promises to protect Plaintiff’s and Class

member’s PII/PHI:

                How we keep your information safe
                We use administrative, technical and physical safeguards to keep
                your information from unauthorized access, and other threats and
                                                 3
          Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 4 of 34




               hazards to its security and integrity. We comply with all state and
               federal laws that apply related to the security and confidentiality of
               your PHI. We don’t destroy your PHI even when you end your
               coverage with us. We may need to use and share it even after your
               coverage terminates. (We describe the reasons for using or sharing
               in this Notice). We will continue to protect your information
               against inappropriate use or disclosure.2

       13.     Aetna recognizes that it owes a duty to Plaintiff and Class members:

               How we comply with the law
               Federal privacy law requires us to keep your PHI private. And we
               must tell you about our legal duties and privacy practices. We must
               also follow the terms of the Notice in effect.3

       14.     Aetna owed Plaintiff and Class members numerous statutory, regulatory, ethical,

contractual, and common law duties to safeguard and keep Plaintiff’s and Class members’

PII/PHI confidential, safe, secure, and protected from unauthorized disclosure, access,

dissemination, and theft.

                                         The Data Breach

       15.     Plaintiff and Class members were required to provide their PII/PHI to Aetna to

receive health insurance.

       16.     Aetna contracted with NationsBenefits for benefits administration services,

including to keep Plaintiff’s and Class members’ PII/PHI safe and secure, and prevent

unauthorized access to the PII/PHI when the PII/PHI was being transferred between entities.

       17.     NationsBenefits contracted with Fortra LLC to, inter alia, use its GoAnywhere

MFT software to transfer Plaintiff’s and Class members’ PII/PHI.

       18.     Fortra’s GoAnywhere MFT software contained a flaw that was exploited by cyber

criminals.


2     See     https://www.aetna.com/document-library/legal-notices/documents/health-notice-of-privacy-
practices.pdf (last visited May 31, 2023).
3 Id.

                                                  4
          Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 5 of 34




        19.     On February 1, 2023, Fortra posted a security advisory in its customer portal

regarding the zero-day vulnerability in its Fortra’s GoAnywhere software. However, in order to

view the initial security advisory, users had to create a (free) account in order to access the

vulnerability report. The use of a customer portal to view the advisory was heavily criticized by

cybersecurity experts.4

        20.     Fortra did not fix the flaw in its GoAnywhere software until February 7, 2023,

when it released a software patch for the flaw.

        21.     Prior to the release of the patch for the flaw, unauthorized persons (reportedly the

Russian-linked Clop gang) exploited the flaw to access and acquire data from more than 130

organizations, including NationsBenefits and Aetna.5

        22.     Fortra first reported that the unauthorized access occurred between approximately

January 28, 2023 and January 30, 2023, but upon further investigation later learned the

unauthorized access occurred as early as January 18, 2023.6

        23.     The Russian group Clop (sometimes styled as “CL0P”) claimed responsibility for

the Data Breach and stated that it accessed and took PII/PHI over the course of ten days. 7 Clop

has been active since February 2019, and it almost exclusively targets the healthcare sector.

        24.     Currently, the full extent of the types of sensitive personal information, the scope

of the Data Breach, and the details regarding how the Data Breach was carried out are all within

the control of Fortra, NationsBenefits, Aetna, and their agents, counsel, and forensic security


4 See https://www.hhs.gov/sites/default/files/clop-allegedly-targeting-healthcare-industry-sector-alert.pdf
(last visited May 19, 2023).
5 See https://www.fortra.com/blog/summary-investigation-related-cve-2023-0669 (last visited May 19,
2023); see also https://www.securityweek.com/fortra-completes-investigation-into-goanywhere-zero-day-
incident/ (last Visited May 19, 2023).
6 See https://www.fortra.com/blog/summary-investigation-related-cve-2023-0669 (last visited May 23,
2023).
7 See https://www.hhs.gov/sites/default/files/clop-allegedly-targeting-healthcare-industry-sector-alert.pdf
(last visited May 22, 2023).

                                                    5
           Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 6 of 34




vendors.

        25.     Plaintiff and Class members are aware that the PII/PHI affected by the Data

Breach creates an imminent risk of identity theft.

        26.     The kind of information exfiltrated in the Data Breach would make it possible for

malicious actors to carry out phishing attacks, social engineering, or even identity theft,

including medical identity theft.

                                 The Data Breach Was Preventable

        27.     Aetna contracted with NationsBenefits for safe and secure transfer of Plaintiff’s

and Class members’ PII/PHI. NationsBenefits selected Fortra’s GoAnywhere software for the

file transfer of this PII/PHI.

        28.     NationsBenefits reportedly has stopped using Fortra’s GoAnywhere software and

implemented additional procedures to further strengthen the security of its IT system

environments.

        29.     These actions demonstrate that the Data Breach could have been prevented by

using a secure file transfer software, properly securing and encrypting the PII/PHI of Plaintiff

and Class members, implementing additional procedures, and/or by implementing and following

adequate procedures to monitor and detect data breaches.

        30.     Defendant’s negligence in safeguarding the PII/PHI of Plaintiff and Class

members was exacerbated by the repeated warnings and alerts directed to U.S. companies

warning that they should protect and secure sensitive data, especially in light of the substantial

increase in cyberattacks specifically targeting healthcare providers. The healthcare industry is

particularly vulnerable to cyberattacks, owing to their high propensity to pay a ransom, the value




                                                 6
          Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 7 of 34




of patient records, and often inadequate security.8

                                 The Data Breach Was Foreseeable

        31.     The FBI has been warning the healthcare industry about the threat posed by the

ransomware and others, and to be on the lookout for attacks.

        32.     The United States Cybersecurity & Infrastructure Security Agency, Department of

Justice, and Department of Health & Human Services issued a Joint Cybersecurity Advisory as

early as on October 28, 2020, warning of an acute threat to U.S. hospitals and healthcare

providers and advising them on how to “ensure that they take timely and reasonable precautions

to protect their networks from these threats.”9

        33.     In 2021, the Healthcare Sector Cybersecurity Coordination Center warned about

Clop as an active threat actor group targeting the healthcare and public health sector.10

        34.     Despite the well-known risks and the need for effective protections, unauthorized

individuals were able to access Plaintiff’s and Class members’ PII/PHI.

        35.     Defendant had specific obligations imposed on it by contracts and law to ensure

the adequate protection of such information. For example, as a covered entity under HIPAA,

Defendant was required to maintain the confidentiality and security of Plaintiff’s and Class

members’ PII/PHI.

                                   Defendant’s HIPAA Violations

        36.     Defendant is regulated by the Health Insurance Portability and Accountability Act

(“HIPAA”) (45 C.F.R. § 160.102), and is required to comply with the HIPAA Privacy Rule and


8 See https://www.hhs.gov/sites/default/files/clop-allegedly-targeting-healthcare-industry-sector-alert.pdf
(last visited May 19, 2023).
9See https://www.cisa.gov/sites/default/files/publications/AA20302A_Ransomware%20_Activity_Target
ing_the_Healthcare_and_Public_Health_Sector.pdf.pdf (last visited May 23, 2023).
10See https://www.hhs.gov/sites/default/files/clop-poses-ongoing-risk-to-hph-organizations.pdf (last
visit-ed May 25, 2023).

                                                    7
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 8 of 34




Security Rule, 45 C.F.R. Part 160 and Part 164, Subparts A and E (“Standards for Privacy of

Individually Identifiable Health Information”), and Security Rule (“Security Standards for the

Protection of Electronic Protected Health Information”), 45 C.F.R. Part 160 and Part 164,

Subparts A and C, which establish national security standards and duties for Defendant’s

protection of medical information maintained in electronic form.

       37.     HIPAA requires Defendant to “comply with the applicable standards,

implementation specifications, and requirements” of HIPAA “with respect to electronic

protected health information.” 45 C.F.R. § 164.302.

       38.     “Electronic protected health information” is defined as “individually identifiable

health information ... that is (i) transmitted by electronic media; maintained in electronic media.”

45 C.F.R. § 160.103.

       39.     HIPAA’s Security Rule requires Defendant to: (a) ensure the confidentiality,

integrity, and availability of all electronic protected health information the covered entity or

business associate creates, receives, maintains, or transmits; (b) protect against any reasonably

anticipated threats or hazards to the security or integrity of such information; (c) protect against

any reasonably anticipated uses or disclosures of such information that are not permitted; and (d)

ensure compliance by its workforce.

       40.     HIPAA also requires Defendant to “review and modify the security measures

implemented ... as needed to continue provision of reasonable and appropriate protection of

electronic protected health information,” 45 C.F.R. § 164.306(c), and also to “[i]mplement

technical policies and procedures for electronic information systems that maintain electronic

protected health information to allow access only to those persons or software programs that

have been granted access rights.” 45 C.F.R. § 164.312(a)(1).



                                                 8
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 9 of 34




       41.       The facts of the Data Breach establish that Defendant failed to comply with these

Rules. The Data Breach resulted from a combination of inadequacies that demonstrate Defendant

failed to comply with safeguards mandated by HIPAA regulations, including, but not limited to,

the following:

                 (a)    Failing to ensure the confidentiality and integrity of electronic PHI that

                        Defendant creates, receives, maintains, and transmits, in violation of 45

                        C.F.R. section 164.306(a)(1);

                 (b)    Failing to implement technical policies and procedures for electronic

                        information systems that maintain electronic PHI to allow access only to

                        those persons or software programs that have been granted access rights,

                        in violation of 45 C.F.R. section 164.312(a)(1);

                 (c)    Failing to implement policies and procedures to prevent, detect, contain,

                        and correct security violations, in violation of 45 C.F.R. section

                        164.308(a)(1);

                 (d)    Failing to identify and respond to suspected or known security incidents

                        and mitigate, to the extent practicable, harmful effects of security incidents

                        that are known to the covered entity, in violation of 45 C.F.R. section

                        164.308(a)(6)(ii);

                 (e)    Failing to protect against any reasonably-anticipated threats or hazards to

                        the security or integrity of electronic PHI, in violation of 45 C.F.R. section

                        164.306(a)(2);

                 (f)    Failing to protect against any reasonably anticipated uses or disclosures of

                        electronic PHI that are not permitted under the privacy rules regarding



                                                  9
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 10 of 34




                       individually identifiable health information, in violation of 45 C.F.R.

                       section 164.306(a)(3);

               (g)     Failing to ensure compliance with HIPAA security standard rules by its

                       workforce, in violation of 45 C.F.R. section 164.306(a)(4);

               (h)     Impermissibly and improperly using and disclosing PHI that is and

                       remains accessible to unauthorized persons, in violation of 45 C.F.R.

                       section 164.502, et seq.;

               (i)     Failing to effectively train all members of its workforce (including

                       independent contractors) on the policies and procedures with respect to

                       PHI as necessary and appropriate for the members of its workforce to

                       carry out their functions and to maintain security of PHI, in violation of 45

                       C.F.R. sections 164.530(b) and 164.308(a)(5); and

               (j)     Failing to design, implement, and enforce policies and procedures

                       establishing physical and administrative safeguards to reasonably

                       safeguard PHI in compliance with 45 C.F.R. section 164.530(c).

                          Value of Personally Identifiable Information

       42.     The PII/PHI of individuals remains of high value to criminals, as evidenced by the

prices they will pay through the dark web. Numerous sources cite dark web pricing for stolen

identity credentials. For example, personal information can be sold at a price ranging from $40 to

$200, and bank details have a price range of $50 to $200. 11 Experian reports that a stolen credit

or debit card number can sell for $5 to $110 on the dark web. 12 Criminals can also purchase
11 Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct. 16,
2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-
much-it-costs/ (last visited May 23, 2023).
12 Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec. 6,
2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-

                                                   10
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 11 of 34




access to entire company data breaches from $900 to $4,500.

        43.     Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to a variety of fraudulent uses and are

difficult for an individual to change.

        44.     The Social Security Administration stresses that the loss of an individual’s Social

Security number can lead to identity theft and extensive financial fraud:

                A dishonest person who has your Social Security number can use it to get
                other personal information about you. Identity thieves can use your
                number and your good credit to apply for more credit in your name. Then,
                they use the credit cards and don’t pay the bills, it damages your credit.
                You may not find out that someone is using your number until you’re
                turned down for credit, or you begin to get calls from unknown creditors
                demanding payment for items you never bought. Someone illegally using
                your Social Security number and assuming your identity can cause a lot of
                problems.13

        45.     It is incredibly difficult to change or cancel a stolen Social Security number. An

individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.

        46.     Even then, a new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center, “The credit bureaus and banks are able to link

the new number very quickly to the old number, so all of that old bad information is quickly

inherited into the new Social Security number.”14

information-is-selling-for-on-the-dark-web/ (last visited May 23, 2023).
13 Identity Theft and Your Social Security Number, Social Security Administration, available at:
https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited May 23, 2023).
14 Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR (Feb. 9,
2015), available at: http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-

                                                   11
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 12 of 34




        47.     Medical identity theft occurs when someone uses a person’s name and sometimes

other parts of their identity — such as insurance information — without the person’s knowledge

or consent to obtain medical services or goods, or uses the person’s identity information to make

false claims for medical services or goods. 15 Medical identity theft frequently results in erroneous

entries being put into existing medical records, and can involve the creation of fictitious medical

records in the victim’s name.16

        48.     Medical identity theft may result in someone using another person’s information

to see a doctor, get prescription drugs, or to file claims with an insurance company in the

person’s name. If the thief’s medical treatment or diagnosis mixes with the person’s treatment or

diagnosis, the victim’s health is at risk.17

        49.     Medical identity theft is one of the most common, most expensive, and most

difficult-to-prevent forms of identity theft.

        50.     Indeed, a robust cyber black market exists in which criminals post stolen PII/PHI

on multiple underground internet websites, commonly referred to as the dark web, to create fake

insurance claims, purchase and resell medical equipment, or access prescriptions for illegal use

or resale. According to a 2017 Javelin strategy and research presentation, fraudulent activities

based on data stolen in data breaches that are between two and six years old had increased by

nearly 400% over the previous four years.18

        51.     According to Experian, one of the three major credit bureaus, medical records can



millionsworrying-about-identity-theft (last visited May 23, 2023).
15 See https://www.worldprivacyforum.org/category/med-id-theft/ (last visited May 23, 2023).
16 Id.
17 See https://oag.ca.gov/privacy/facts/medical-privacy/med-id-theft (last visited May 23, 2023).
18 See Brian Stack, Here’s How Much Your Personal Information is Selling for on the Dark Web (2017),
https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-is-selling-for-
on-the-dark-web/ (last visited May 23, 2023).

                                                 12
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 13 of 34




be worth up to $1,000 per person on the dark web, depending upon completeness. 19 PII/PHI can

be sold at a price ranging from approximately $20 to $300.20

        52.     Medical identity theft can also result in inaccuracies in medical records and costly

false claims. It can also have life-threatening consequences since if a victim’s health information

is mixed with other records, it can lead to misdiagnosis or mistreatment. “Medical identity theft

is a growing and dangerous crime that leaves its victims with little to no recourse for recovery,”

reported Pam Dixon, executive director of World Privacy Forum. “Victims often experience

financial repercussions and worse yet, they frequently discover erroneous information has been

added to their personal medical files due to the thief’s activities.”21

        53.     The Ponemon Institute found that medical identity theft can cost victims an

average of $13,500 to resolve per incident, and that victims often have to pay off the imposter’s

medical bills to resolve the breach.22

        54.     In another study by the Ponemon Institute in 2015, 31% of medical identity theft

victims lost their healthcare coverage as a result of the incident, while 29% had to pay to restore

their health coverage, and over half were unable to resolve the identity theft at all.23

        55.     Based on the foregoing, the information compromised in the Data Breach is


19 Id.
20 See https://www.privacyaffairs.com/dark-web-price-index-2021/ (last visited May 23, 2023).
21 Michael Ollove, “The Rise of Medical Identity Theft in Healthcare,” Kaiser Health News, (2/7/14),
https://khn.org/news/rise-of-indentity-theft/ (last visited May 23, 2023); see also, Medical Identity Theft
in      the     New      Age      of      Virtual       Healthcare,    IDX      (March      15,      2021),
https://www.idx.us/knowledge-center/medical-identity-theft-in-the-new-age-of-virtual-healthcare        (last
visited May 23, 2023).
22 Brian O’Connor, Healthcare Data Breach: What to Know About Them and What to Do After One,
Experian (June 14, 2018), https://www.experian.com/blogs/ask-experian/healthcare-data-breach-what-to-
know-about-them-and-what-to-do-after-one/ (last visited May 23, 2023).
23 Ponemon Institute, Fifth Annual Study on Medical Identity Theft, (February, 2015),
http://www.medidfraud.org/wp-content/uploads/2015/02/2014_Medical_ID_Theft_Study1.pdf(last
visited 5/3/22).

                                                    13
          Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 14 of 34




significantly more valuable than the loss of, for example, only credit card information in a

retailer data breach because, there, victims can cancel or close credit and debit card accounts.

The information compromised in this Data Breach, including Social Security numbers and

names, is impossible to “close” and difficult, if not impossible, to change.

         56.   This data demands a much higher price on the black market. Martin Walter,

senior director at cybersecurity firm RedSeal, explained: “Compared to credit card information,

personally identifiable information and Social Security numbers are worth more than 10x on the

black market.”24

         57.   Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

         58.   The fraudulent activity resulting from the Data Breach may not come to light for

years.

         59.   There may be a time lag between when harm occurs versus when it is discovered,

and also between when PII/PHI is stolen and when it is used. According to the U.S. Government

Accountability Office (“GAO”), which conducted a study regarding data breaches:

               [L]aw enforcement officials told us that in some cases, stolen data may be
               held for up to a year or more before being used to commit identity theft.
               Further, once stolen data have been sold or posted on the Web, fraudulent
               use of that information may continue for years. As a result, studies that
               attempt to measure the harm resulting from data breaches cannot
               necessarily rule out all future harm.25

         60.   At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII/PHI of Plaintiff and Class members, including medical

24 Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card Numbers,
IT World, (Feb. 6, 2015), available at: https://www.networkworld.com/article/2880366/anthem-hack-
personal-data-stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html (last visited May 23, 2023).
25 Report to Congressional Requesters, GAO, at 29 (June 2007), available at: https://www.gao. gov
/assets/gao-07-737.pdf (last visited May 23, 2023).

                                                  14
           Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 15 of 34




information such as their Health Plan Subscriber Identification Numbers, and of the foreseeable

consequences that would occur if the PII/PHI was exfiltrated, including, specifically, the

significant costs that would be imposed on Plaintiff and Class members.

       61.     Plaintiff and Class members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. Plaintiff and the Class are

incurring and will continue to incur such damages in addition to any fraudulent use of their

PII/PHI.

       62.     The injuries to Plaintiff and Class members were directly and proximately caused

by Defendant’s failure to (a) use a secure file transfer software, (b) properly secure and encrypt

the PII/PHI of Plaintiff and Class members, (c) implement the additional procedures that were

only implemented after the Data Breach, and/or (d) implement and follow adequate procedures

to monitor and detect data breaches.

                    FACTS RELATED TO PLAINTIFF’S EXPERIENCE

       63.     Plaintiff receives health insurance from Aetna. As a condition of obtaining

treatment, Plaintiff provided her PII/PHI to Aetna with the reasonable expectation that her

PII/PHI would be maintained in a secure manner, and her PII/PHI would only be used for

legitimate business purposes.

       64.     NationsBenefits Holdings, LLC and its affiliates and subsidiaries (collectively,

“NationBenefits”) provides benefits administration services to Aetna.

       65.     NationsBenefits used software provided by Fortra, the GoAnywhere MFT

software, to exchange files containing Plaintiff’s and Class members’ PII/PHI with Aetna.

       66.     NationsBenefits did not properly safeguard and protect Plaintiff’s PII/PHI,

leading to its exposure and exfiltration in the Data Breach.



                                                15
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 16 of 34




       67.     NationsBenefits did not provide notice of the Data Breach to Aetna customers

until the end of April 2023.

       68.     On or about April 27, 2023, Plaintiff received notice from NationsBenefits that

her PII/PHI had been improperly accessed and/or obtained by unauthorized third parties in the

Data Breach.

       69.     NationsBenefits reportedly learned of the Fortra data security incident on

February 7, 2023, and then took steps to secure its systems and conduct an investigation.

       70.     NationsBenefits states that it “analyzed the impacted data to determine whether

any individual’s personal information was subject to unauthorized access or acquisition. On

February 23, 2023, NationsBenefits confirmed that, unfortunately, some of your personal

information was affected by the incident.” See Exhibit 1. “The personal information involved

included your First Name; Middle Initial; Last Name; Gender; Health Plan Subscriber

Identification Number; Address; Phone Number; Date of Birth.”

       71.     In NationsBenefits’ Notice of Data Breach Letter, Plaintiff and Class members are

encouraged “to remain vigilant against incidents of identity theft and fraud, to review your

account statements, and to monitor your free credit reports for suspicious activity and to detect

errors.” See Exhibit 1. Along with NationsBenefits’ Notice of Data Breach Letter is a document

entitled “General Information about Identity Theft Protection” sheet. See Exhibit 1.

       72.     The Clop ransomware gang has claimed to have information from 130 companies

in the Data Breach, has posted the names of the companies it has obtained PII/PHI from to its

dark web leak website, and has leaked data.26

       73.     As a result of the Data Breach, Plaintiff made reasonable efforts to mitigate the

26 See https://techmonitor.ai/technology/cybersecurity/fortra-cyberattack-ransomware-clop (last visited
May 25, 2023); see also https://cybernews.com/news/virgin-group-cl0p-ransomware-gang-victim/ (last
visited May 25, 2023).

                                                  16
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 17 of 34




impact of the Data Breach, including but not limited to: spending a significant amount of time

researching the Data Breach and reviewing financial, healthcare, and other accounts for any

indications of actual or attempted identity theft or fraud. Plaintiff has spent time and energy

dealing with the Data Breach––valuable time Plaintiff otherwise would have spent on other

activities––including but not limited to work or recreation.

       74.     As a result of the Data Breach, Plaintiff has suffered anxiety, emotional distress,

and loss of privacy as a result of the release of her PII/PHI, which he reasonably believed would

be protected from unauthorized access and disclosure, including anxiety about unauthorized

parties viewing, selling, and using her PII/PHI for purposes of identity theft and fraud. Plaintiff is

very concerned about identity theft and fraud, as well as the consequences of such identity theft

and fraud resulting from the Data Breach. Plaintiff is very concerned that her PII/PHI, which

includes her Health Plan Subscriber Identification Number and date of birth, will be used to

commit medical identity theft.

       75.     Plaintiff suffered actual injury from having her PII/PHI compromised as a result

of the Data Breach including, but not limited to (a) damage to and diminution in the value of h er

PII/PHI; (b) violation of privacy rights; and (c) present, imminent and impending injury arising

from the increased risk of identity theft and fraud.

       76.     As a result of the Data Breach, Plaintiff anticipates spending considerable time

and money on an ongoing basis to try to mitigate and address harms caused by the Data Breach.

As a result of the Data Breach, Plaintiff is at a present risk and will continue to be at increased

risk of identity theft and fraud for years to come.

                               CLASS ACTION ALLEGATIONS
       77.     Plaintiff seeks to certify the following class pursuant to Fed. R. Civ. P. 23:



                                                 17
          Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 18 of 34




                         All persons insured by Aetna whose PII/PHI was accessed by
                         unauthorized persons in the Data Breach.

        78.       Excluded from the Class are Defendant and Defendant’s officers and directors;

any entity in which Defendant has a controlling interest; and the affiliates, legal representatives,

attorneys, successors, heirs, and assigns of Defendant. Excluded also from the Class are

members of the judiciary to whom this case is assigned, their immediate families, and members

of their staff.

        79.       Plaintiff reserves the right to amend or modify the Class definition and/or create

additional subclasses as this case progresses.

        80.       Numerosity. The members of the Class are so numerous that joinder of all of them

is impracticable. While the exact number of Class members is unknown to Plaintiff at this time,

the company that provided benefits administration services to Aetna, NationsBenefits, has

reported to the Maine Attorney General that 19,386 Maine residents have been affected and that

the total number of persons affected is still to be determined.27

        81.       Commonality. There are questions of law and fact common to the Class, which

predominate over any questions affecting only individual Class members. These common

questions of law and fact include, without limitation:

                  a.     Whether Defendant unlawfully failed to secure Plaintiff’s and Class

                         members’ PII/PHI;

                  b.     Whether Defendant failed to utilize safe and secure file transfer software

                         and implement and maintain reasonable security procedures and practices

                         appropriate to the nature and scope of the information compromised in the

                         Data Breach;
27 See https://apps.web.maine.gov/online/aeviewer/ME/40/cc06cdee-0715-4eea-8b33-
c391dba8fe5e.shtml (last visited).

                                                  18
          Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 19 of 34




               c.      Whether Defendant failed to comply with applicable data security laws

                       and regulations;

               d.      Whether Defendant’s data practices prior to and during the Data Breach

                       were consistent with industry standards;

               e.      Whether Defendant owed a duty to Plaintiff and Class members to

                       safeguard their PII/PHI;

               f.      Whether Defendant breached its duty to Plaintiff and Class members to

                       safeguard their PII/PHI;

               g.      Whether Plaintiff and Class members suffered legally cognizable damages

                       as a result of Defendant’s misconduct;

               h.      Whether Defendant’s conduct was negligent;

               i.      Whether Defendant’s acts, inactions, and practices complained of herein

                       breached contracts with Plaintiff and Class members;

               j.      Whether Defendant was unjustly enriched by unlawfully retaining a

                       benefit conferred upon it by Plaintiff and Class members; and

               k.      Whether Plaintiff and Class members are entitled to damages, punitive

                       damages, treble damages, and/or injunctive or other equitable relief.

       82.     Typicality. Plaintiff’s claims are typical of those of other Class members because

Plaintiff’s information, like that of every other Class member, was compromised in the Data

Breach.

       83.     Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of the members of the Class. Plaintiff’s counsel is competent and

experienced in litigating class actions.



                                                  19
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 20 of 34




       84.      Predominance. Defendant has engaged in a common course of conduct toward

Plaintiff and Class members, in that all of Plaintiff’s and Class members’ PII/PHI was

unlawfully accessed in the same way. The common issues arising from Defendant’s conduct

affecting Class members set out above predominate over any individualized issues. Adjudication

of these common issues in a single action has important and desirable advantages of judicial

economy.

       85.      Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a class action, most Class

members would likely find that the cost of litigating their individual claims is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

Class members would create a risk of inconsistent or varying adjudications with respect to

individual Class members, which would establish incompatible standards of conduct for

Defendant. In contrast, the conduct of this action as a class action presents far fewer management

difficulties, conserves judicial resources and the parties’ resources, and protects the rights of

each Class member.

       86.      Defendant has acted on grounds that apply generally to the Class as a whole, so

that class certification, injunctive relief, and corresponding declaratory relief are appropriate on a

classwide basis.

                                           COUNT I
                                           Negligence
                              (On Behalf of Plaintiff and the Class)

       87.      Plaintiff realleges and incorporates by reference paragraphs 1–86 as if fully set

forth herein.



                                                 20
           Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 21 of 34




       88.     Plaintiff and Class members were required to provide their PII/PHI to Aetna.

       89.     In providing their PII/PHI, Plaintiff and Class members had a reasonable

expectation that reasonable care would be exercised in the protection of their PII/PHI.

       90.     Defendant, as a covered entity under HIPAA, had a duty to take reasonable

measures for file transfers to protect the PII/PHI of Plaintiff       and Class members from

unauthorized disclosure to third parties.

       91.     Defendant has full knowledge of the sensitivity of the PII/PHI and the types of

harm that Plaintiff and Class members could and would suffer if the PII/PHI were wrongfully

disclosed in a Data Breach.

       92.     Defendant knew or reasonably should have known that the failure to exercise due

care in protecting PII/PHI, involved an unreasonable risk of harm to Plaintiff and Class

members.

       93.     Defendant had a duty to exercise reasonable care to prevent Plaintiff’s and Class

members’ information from being compromised, lost, stolen, misused, and/or disclosed to

unauthorized parties. This duty includes, among other things, ensuring that it and its business

partners used file transfer software that would secure and protect Plaintiff’s and Class members’

PII/PHI.

       94.     Defendant also had a duty to implement and maintain procedures to detect and

prevent the improper access, exfiltration, and misuse of PII/PHI.

       95.     Defendant’s duty to use reasonable security measures arose as a result of

Defendant’s duty as a Covered Entity. See 45 C.F.R. § 160.103.

       96.     A breach of security, unauthorized access, and resulting injury to Plaintiff and

Class members was reasonably foreseeable, particularly in light of the flaws in Fortra’s



                                                21
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 22 of 34




GoAnywhere MFT software, the “additional procedures” that NationsBenefits added after the

Data Breach to strengthen security, the detailed warnings published by governmental agencies,

and news reports of other data breaches.

        97.     Plaintiff and Class members were the foreseeable and probable victims due to the

fact that it was their PII/PHI that Aetna possessed, stored, and transferred. Defendant knew or

should have known of the inherent risks in transferring files containing PII/PHI, and the critical

importance of providing adequate security for that PII/PHI.

        98.     Given that Aetna obtains, stores, and transfers PII/PHI, the value of PII/PHI to

cyber criminals, and the many reported data breaches, a foreseeable risk of harm to Plaintiff and

Class members existed and exists.

        99.     Plaintiff and Class members had no ability to protect their PII/PHI, and had no

sign that Defendant was failing to implement and maintain reasonable data security practices

over their PII/PHI, until they received their notification letters.

        100.    Defendant was in a position to protect against the harm suffered by Plaintiff and

Class members as a result of the Data Breach.

        101.    Defendant had a duty to securely store and transfer PII/PHI to prevent the

unauthorized disclosure and unauthorized sharing of the PII/PHI to criminals.

        102.    Defendant, through its actions and/or omissions, unlawfully breached its duties to

Plaintiff and Class members by failing to secure and safeguard the PII/PHI of Plaintiff and Class

members.

        103.    Defendant, through its actions and/or omissions, unlawfully breached its duty to

Plaintiff and Class members by failing to have appropriate procedures in place to detect and

prevent unauthorized dissemination of PII/PHI.



                                                  22
           Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 23 of 34




       104.    Defendant, through its actions and/or omissions, unlawfully breached its duty to

adequately and timely disclose to its customers, Plaintiff, and Class members the existence and

scope of the Data Breach.

       105.    But for Defendant’s wrongful and negligent breach of duties owed to Plaintiff and

Class members, the PII/PHI of Plaintiff and Class members would not have been compromised.

       106.    There is a close causal connection between Defendant’s failure to protect the

PII/PHI of Plaintiff and Class members and the harm, or risk of imminent harm, suffered by

Plaintiff and Class members. The PII/PHI of Plaintiff and Class members was lost and accessed

as the proximate result of Defendant’s failure to exercise reasonable care in safeguarding such

PII/PHI.

       107.    As a direct and proximate result of Defendant’s numerous negligent acts and

omissions, Plaintiff and Class members are at a substantial, impending, and imminent risk of

identity theft, and they have been forced to take mitigation steps, thereby incurring costs, to

ensure their personal and financial safety.

       108.    Plaintiff and Class members must now closely monitor their financial and medical

accounts to guard against future identity theft and fraud. Plaintiff and Class members have

heeded such warnings to mitigate against the imminent risk of future identity theft and financial

loss. Such mitigation efforts included, and will include into the future, protective steps. The loss

of time and other mitigation costs are tied directly to guarding against and mitigating against the

imminent risk of identity theft.

       109.    As a direct and proximate result of Defendant’s numerous negligent acts and

omissions, Plaintiff and Class members have suffered actual and concrete injuries and will

suffer additional injuries into the future, including economic and non-economic damages in the



                                                23
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 24 of 34




following forms: (a) invasion of privacy; (b) financial costs incurred mitigating the imminent

risk of identity theft; (c) loss of time and loss of productivity incurred mitigating the imminent

risk of identity theft, including medical identity theft; (d) loss of time and loss of productivity

taking steps to mitigate the data breach, including the instructions in the Data Breach Letter; (e)

the cost of future monitoring for identity theft, including medical identity theft; (f) loss of time

and annoyance due to increased targeting with phishing attempts and fraudulent robo-calls; and

(g) diminution of value of their PII/PHI.

       110.       As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

members are entitled to recover actual and punitive damages.

                                              COUNT II
                                           Negligence per se
                                 (On Behalf of Plaintiff and the Class)
       111.       Plaintiff realleges and incorporates by reference paragraphs 1–86 as if fully set

forth herein.

       112.       Defendant is a covered entity under HIPAA. A “covered entity” is defined in

relevant part as a “health plan.” 45 C.F.R. § 160.103. As a health insurance company, Aetna is a

covered entity.

       113.       Defendant violated HIPAA regulations, including by:

                  ●      Failing to ensure the confidentiality and integrity of electronic PHI that

                         Defendant creates, receives, maintains, or transmits, in violation of 45

                         C.F.R. section 164.306(a)(1);

                  ●      Failing to implement technical policies and procedures for electronic

                         information systems that maintain electronic PHI to allow access only to

                         those persons or software programs that have been granted access rights,

                                                 24
Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 25 of 34




          in violation of 45 C.F.R. section 164.312(a)(1);

    ●     Failing to implement policies and procedures to prevent, detect, contain,

          and correct security violations, in violation of 45 C.F.R. section

          164.308(a)(1);

    ●     Failing to identify and respond to suspected or known security incidents

          and mitigate, to the extent practicable, harmful effects of security incidents

          that are known to the covered entity, in violation of 45 C.F.R. section

          164.308(a)(6)(ii);

    ●     Failing to protect against any reasonably-anticipated threats or hazards to

          the security or integrity of electronic PHI, in violation of 45 C.F.R. section

          164.306(a)(2);

    ●     Failing to protect against any reasonably anticipated uses or disclosures of

          electronic PHI that are not permitted under the privacy rules regarding

          individually identifiable health information, in violation of 45 C.F.R.

          section 164.306(a)(3);

    ●     Failing to ensure compliance with HIPAA security standard rules by its

          workforce, in violation of 45 C.F.R. section 164.306(a)(4);

    ●     Impermissibly and improperly using and disclosing PHI that is and

          remains accessible to unauthorized persons, in violation of 45 C.F.R.

          section 164.502, et seq.;

    ●     Failing to effectively train all members of its workforce (including

                                      25
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 26 of 34




                       independent contractors) on the policies and procedures with respect to

                       PHI as necessary and appropriate for the members of its workforce to

                       carry out their functions and to maintain security of PHI, in violation of 45

                       C.F.R. sections 164.530(b) and 164.308(a)(5); and,

               ●       Failing to design, implement, and enforce policies and procedures

                       establishing physical and administrative safeguards to reasonably

                       safeguard PHI in compliance with 45 C.F.R. section 164.530(c).

       114.    Defendant also violated the duties applicable to it under the Federal Trade

Commission Act (15 U.S.C. § 45, et seq.) from engaging in “unfair or deceptive acts or practices

in or affecting commerce.” The FTC, pursuant to that Act, has concluded that a company’s

failure to maintain reasonable and appropriate data security for sensitive personal information is

an “unfair practice” in violation of the FTC Act.

       115.    “Section 5 of the FTC Act [15 U.S.C. § 45] is a statute that creates enforceable

duties, and this duty is ascertainable as it relates to data breach cases based on the text of the

statute and a body of precedent interpreting the statute and applying it to the data beach context.”

In re Capital One Consumer Data Sec. Breach Litig., 488 F. Supp. 3d 374, 407 (E.D. Va. 2020).

“For example, in F.T.C. v. Wyndham Worldwide Corp., 799 F.3d 236, 240 (3d Cir. 2015), the

United States Court of Appeals for the Third Circuit affirmed the FTC’s enforcement of Section

5 of the FTC Act in data breach cases.” Capital One, 488 F. Supp. 3d at 407.

       116.    Plaintiff’s and Class members’ PII/PHI was and is nonpublic personal information

and customer information.

       117.    Plaintiff and Class members are in the group of persons that HIPAA and the FTC

Act were enacted and implemented to protect, and the harms they suffered in the Data Breach as


                                                26
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 27 of 34




a result of Defendant’s violations of HIPAA and the FTC Act were the types of harm the statutes

and regulations are designed to prevent.

       118.     As a direct and proximate result of Defendant’s numerous negligent acts and

omissions, Plaintiff and Class members are at a substantial, impending, and imminent risk of

identity theft, and they have been forced to take mitigation steps, thereby incurring costs, to

ensure their personal and financial safety. Plaintiff and Class members have suffered actual and

concrete injuries and will suffer additional injuries into the future, including economic and non-

economic damages in the following forms: (a) invasion of privacy; (b) financial costs incurred

mitigating the imminent risk of identity theft; (c) loss of time and loss of productivity incurred

mitigating the imminent risk of identity theft, including medical identity theft; (d) loss of time

and loss of productivity taking steps to mitigate the data breach, including the instructions in the

Data Breach Letter; (e) the cost of future monitoring for identity theft, including medical identity

theft; (f) loss of time and annoyance due to increased targeting with phishing attempts and

fraudulent robo-calls; and (g) diminution of value of their PII/PHI.

       119.     As a direct and proximate result of the conduct of Defendant that violated HIPAA

and the FTC Act, Plaintiff and Class members have suffered and will continue to suffer the

foreseeable economic and non-economic harms as described herein.

       120.     As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

members are entitled to recover actual and punitive damages.

                                         COUNT III
                                    Breach of Contract
                             (On Behalf of Plaintiff and the Class)

       121.     Plaintiff realleges and incorporates by reference paragraphs 1–86 as if fully set

forth herein.



                                                27
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 28 of 34




       122.    Aetna and Plaintiff and Class members entered into contracts wherein Aetna

agreed to provide health insurance to its customers and promised to safeguard, secure, and

protect Plaintiff’s and Class members’ PII/PHI. Aetna also implicitly promised to timely and

accurately provide notification if Plaintiff’s and Class members’ PII/PHI had been breached and

compromised or stolen.

       123.    Plaintiff and Class members fully performed their obligations under the contracts.

       124.    Aetna breached its contracts when it failed to safeguard, secure, and protect the

PII/PHI of Plaintiff and Class members and allowed unauthorized persons to access and

exfiltrate the PII/PHI.

       125.    As a direct and proximate result of Aetna’s breach of its contract, Plaintiff and

Class members are at a substantial, impending, and imminent risk of identity theft (including

medical identity theft), and they have been forced to take mitigation steps, to ensure their

personal and financial safety.

       126.    As a direct and proximate result of Aetna’s breach of contract, Plaintiff and Class

members have suffered actual and concrete injuries and will suffer additional injuries into the

future, including economic and non-economic damages in the following forms: (a) invasion of

privacy; (b) financial costs incurred mitigating the imminent risk of identity theft; (c) loss of time

and loss of productivity incurred mitigating the imminent risk of identity theft, including medical

identity theft; (d) loss of time and loss of productivity taking steps to mitigate the data breach,

including the instructions in the Data Breach Letter; (e) the cost of future monitoring for identity

theft, including medical identity theft; (f) loss of time and annoyance due to increased targeting

with phishing attempts and fraudulent robo-calls; and (g) diminution of value of their PII/PHI.

       127.    As a direct and proximate result of Defendant’s above-described breach of



                                                 28
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 29 of 34




contract, Plaintiff and Class members are entitled to recover actual, consequential, and nominal

damages.

                                          COUNT IV
                                     Unjust Enrichment
                              (On Behalf of Plaintiff and the Class)

       128.     Plaintiff realleges and incorporates by reference paragraphs 1–86 as if fully set

forth herein.

       129.     This count is pled in the alternative to the breach of contract claim.

       130.     Plaintiff and Class members paid for Aetna health insurance, a portion of which

was intended to cover data security.

       131.     Defendant understood and appreciated that Plaintiff’s and Class members’

PII/PHI was private and confidential, and its value depended upon Defendant maintaining the

privacy and confidentiality of that information.

       132.     A benefit was conferred upon Defendant by payment for its health insurance with

the understanding that Defendant would implement and maintain reasonable data privacy and

security practices and procedures. Plaintiff and Class members should have received adequate

protection and data security for their PII/PHI.

       133.     Defendant knew Plaintiff and Class members conferred a benefit which

Defendant accepted. Defendant profited from these transactions and appreciated the benefits.

       134.     Defendant failed to provide reasonable security, safeguards, and protections to the

PII/PHI of Plaintiff and Class members.

       135.     Defendant should not be permitted to retain money rightfully belonging to

Plaintiff and Class members, because Defendant failed to implement appropriate data security

measures resulting in the Data Breach.



                                                   29
           Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 30 of 34




          136.   Defendant accepted and wrongfully retained these benefits to the detriment of

Plaintiff and Class members.

          137.   Defendant’s enrichment at the expense of Plaintiff and Class members is and was

unjust.

          138.   As a result of Defendant’s wrongful conduct, as alleged above, Plaintiff and

Class members seek restitution of their money paid for health insurance—a portion of which was

for data security—and disgorgement of all profits, benefits, imposition of a constructive trust,

and other compensation obtained by Defendant, plus attorneys’ fees, costs, and interest thereon.

                                           COUNT V
                             Violation of Conn. Gen. Stat. § 38a-988
                              (On behalf of Plaintiff and the Class)

          139.   Plaintiff realleges and incorporates by reference paragraphs 1–86 as if fully set

forth herein.

          140.   The defendant was at all times mentioned herein an insurance institution as

defined in Conn. Gen. Stat. § 38a-976.

          141.   The disclosures of personal and privileged information by the defendant as set

forth above occurred in violation of Conn. Gen. Stat. § 38a-988 and were not subject to any of

the exceptions to the prohibition on the disclosure of personal and privileged information under

Conn. Gen. Stat. § 38a-988.

                                          COUNT VI
                     Violation of Conn. Gen. Stat. § 42-110b via §38a-816(1)
                              (On behalf of Plaintiff and the Class)

          142.   Plaintiff realleges and incorporates by reference paragraphs 1–86 as if fully set

forth herein.

          143.   The defendant represented to the plaintiff as part of the benefits, advantages,



                                                30
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 31 of 34




conditions, or terms of its policy of insurance that the plaintiff’s personal and privileged

information would be protected against inappropriate use or disclosure.

       144.    The defendant knew, or should have known, that this representation was false in

violation of Conn. Gen. Stat. §38a-816(1).

       145.    The plaintiff reasonably relied on the defendant’s misrepresentation.

       146.    As a direct and proximate result of Defendant’s numerous negligent acts and

omissions, Plaintiff and Class members are at a substantial, impending, and imminent risk of

identity theft, and they have been forced to take mitigation steps, thereby incurring costs, to

ensure their personal and financial safety.

       147.    Plaintiff and Class members must now closely monitor their financial and medical

accounts to guard against future identity theft and fraud. Plaintiff and Class members have

heeded such warnings to mitigate against the imminent risk of future identity theft and financial

loss. Such mitigation efforts included, and will include into the future, protective steps. The loss

of time and other mitigation costs are tied directly to guarding against and mitigating against the

imminent risk of identity theft.

       148.    As a direct and proximate result of Defendant’s numerous negligent acts and

omissions, Plaintiff and Class members have suffered actual and concrete injuries and will suffer

additional injuries into the future, including economic and non-economic damages in the

following forms: (a) invasion of privacy; (b) financial costs incurred mitigating the imminent

risk of identity theft; (c) loss of time and loss of productivity incurred mitigating the imminent

risk of identity theft, including medical identity theft; (d) loss of time and loss of productivity

taking steps to mitigate the data breach, including the instructions in the Data Breach Letter; (e)

the cost of future monitoring for identity theft, including medical identity theft; (f) loss of time



                                                31
         Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 32 of 34




and annoyance due to increased targeting with phishing attempts and fraudulent robo-calls; and

(g) diminution of value of their PII/PHI.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for judgment

against Defendant and in Plaintiff’s favor, as follows:

               a)      For an Order certifying this action as a Class action and appointing

                       Plaintiff as the Class Representative and his counsel as Class Counsel;

               b)      For an award of actual damages and compensatory damages, in an amount

                       to be determined, as allowable by law;

               c)      For an award of punitive damages, as allowable by law;

               d)      For an award of attorneys’ fees and costs, and any other expense,

                       including expert witness fees;

               e)      For equitable relief enjoining Defendant from engaging in the wrongful

                       conduct complained of herein pertaining to the misuse and/or disclosure of

                       Plaintiff’s and Class members’ PII/PHI, and from refusing to issue

                       prompt, complete, and accurate disclosures regarding the Data Breach;

               f)      For equitable relief compelling Defendant to utilize appropriate methods

                       and policies with respect to consumer data security;

               g)      For equitable relief requiring restitution and disgorgement of the revenues

                       wrongfully retained as a result of Defendant’s wrongful conduct;

               h)      Imposition of a constructive trust for the benefit of Plaintiff and Class

                       members;

               i)      Pre- and post-judgment interest on any amounts awarded; and,



                                                32
 Case 3:23-cv-00740-JAM Document 1 Filed 06/07/23 Page 33 of 34




       j)      Such other and further relief as this court may deem just and proper.

                           JURY TRIAL DEMANDED

Plaintiff demands a trial by jury on all claims so triable.


                               Plaintiff John Vogel, individually, and on behalf of all
                               others similarly situated,


                               By: /s/      John Kanca
                                         Fed. Bar No.: ct30773
                                         The Kanca Law Firm, LLC
                                         40 Richards Avenue, Suite 353
                                         Norwalk, CT 06854
                                         Phone: (203) 806-7003
                                         Fax: (833) 239-1928
                                         john@connecticutinjury.law

                                         Marc E. Dann (pro hac vice anticipated)
                                         Brian D. Flick (pro hac vice anticipated)
                                         DANN LAW
                                         15000 Madison Avenue
                                         Lakewood, Ohio 44107
                                         Phone: (216) 373-0539
                                         Fax: (216) 373-0536
                                         notices@dannlaw.com

                                         Thomas A. Zimmerman, Jr. (pro hac vice
                                         anticipated)
                                         tom@attorneyzim.com
                                         Sharon A. Harris (pro hac vice anticipated)
                                         sharon@attorneyzim.com
                                         ZIMMERMAN LAW OFFICES, P.C.
                                         77 W. Washington Street, Suite 1220
                                         Chicago, Illinois 60602
                                         Phone: (312) 440-0020
                                         Fax: (312) 440-4180
                                         www.attorneyzim.com

                               Counsel for Plaintiff and the Class




                                           33
JS 44 (Rev. 04/21)               Case 3:23-cv-00740-JAM
                                                    CIVILDocument
                                                          COVER1SHEET
                                                                  Filed 06/07/23 Page 34 of 34
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
         Donna Vogel                                                                                     Aetna Inc.
   (b) County of Residence of First Listed Plaintiff             Trumbull                                County of Residence of First Listed Defendant              Hartford
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

         John Kanca, 40 Richards Ave., Suite 353, Norwalk, CT
         06854 Tel: (203) 806-7003
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY              PERSONAL INJURY                  625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                365 Personal Injury -                 of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product             Product Liability            690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability              367 Health Care/                                                         INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &            Pharmaceutical                                                     PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                    Personal Injury                                                    820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’          Product Liability                                                  830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability              368 Asbestos Personal                                                  835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                      Injury Product                                                         New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product              Liability                                                          840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability             PERSONAL PROPERTY                           LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle           370 Other Fraud                   710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle           371 Truth in Lending                  Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability       380 Other Personal                720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability     360 Other Personal              Property Damage                   Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                  385 Property Damage               740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -           Product Liability             751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS                 790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights      Habeas Corpus:                    791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                  463 Alien Detainee                    Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment              510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                    Sentence                                                               or Defendant)                 896 Arbitration
  245 Tort Product Liability             Accommodations          530 General                                                            871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -  535 Death Penalty                     IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment              Other:                            462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -  540 Mandamus & Other              465 Other Immigration                                                  950 Constitutionality of
                                         Other                   550 Civil Rights                      Actions                                                                State Statutes
                                     448 Education               555 Prison Condition
                                                                 560 Civil Detainee -
                                                                     Conditions of
                                                                     Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       Class Action Fairness Act, 28 U.S.C. § 1332(d)(2)
VI. CAUSE OF ACTION Brief description of cause:
                                       Negligence, Breach of Contract, Unjust Enrichment, C.G.S. § 38a-988, C.G.S. § 42-110b
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
Jun 7, 2023                                                          /s/ John Kanca
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
